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4
     Peter M. Jones, Esq. SBN# 105811
5
     Attorneys For:             Defendant, Victor Alfonso Perez Virgen
6
                                             UNITED STATES DISTRICT COURT
7
                                             EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,                              )   Case No.: 1:14 CR 00226 DAD BAM
10                                                          )
                                Plaintiff,                  )   STIPULATION TO MODIFY PRETRIAL RELEASE
11                                                          )   CONDITIONS;DECLARATION OF PETER M.
     vs.                                                    )   JONES;AND [PROPOSED] ORDER THEREON
12                                                          )
     VICTOR ALFONSO PEREZ VIRGEN,                           )
13                                                          )
                                Defendant                   )
14                                                          )

15
                Defendant, Victor Alfonso Perez Virgen, by and through counsel, Peter M. Jones, and Plaintiff,
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     UNITED STATES OF AMERICA, by and through counsel, Phillip A. Talbert, hereby stipulate as follows:
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                                That the condition of Pretrial Release regarding Defendants’ travel be modified to
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     reflect the following: Defendant may travel to Nayarit Mexico to visit members of his immediate, and
19
     extended family. He is to leave no earlier than Friday, Dec 22, 2017 and return to Lodi, California, no later
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21   than Wednesday Jan 3, 2018; all other conditions of release, not in conflict, shall remain in full force and

22   effect.

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24                                  DECLARATION OF PETER M. JONES

25              I, Peter M. Jones, declare as follows:

26              1.       I am an attorney admitted to practice before this court, and am counsel of record for

27   Victor Alfonso Perez Virgen, a defendant in the above entitled action.

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1            2.       Mr. Virgen informed me that he would like to take his wife and three children to visit

2    members of his immediate, and extended family in Nayarit, Mexico over the Christmas holiday. He would

3    depart on December 22, 2017 and return on January 3, 2018.

4            3.       Mr. Virgen currently resides in Lodi, CA and is being supervised by the Pre-trial Release

5    Office in that area. He has been under the supervision of that office for over three years. He is currently

6    employed full time in the Lodi area and is supporting a family of five. He has three young children. Two

7    are enrolled and attending school, and will be on Christmas vacation during the time being requested.

8            4.       I have contacted Pretrial Release Officer, Steve Sheehan, and informed him of Mr.
9    Virgen’s desire to travel to Mexico. Officer Sheehan informed me that while Mr. Virgen has been
10   supervised by pretrial release he has complied with all the terms and conditions of his release. Officer
11   Sheehan indicated that his office’s policy is to not take a position on such requests and to defer to the
12   Court for approval. However, he said I could indicate, that he had “no concerns relating to the request”.
13           5.       I have contacted AUSA Kathy Servatius, and she has agreed to stipulate to the
14   Defendant’s travel request.
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             I declare under penalty of perjury that the foregoing is true and that this declaration was executed
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     in Fresno, California, on December 7, 2017.
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                                                                                        /S/ Peter M. Jones
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                                                                                          Peter M. Jones
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21   Dated: December 7, 2017                                    Respectfully Submitted,

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23                                                              By: /s/ PETER M. JONES
                                                                PETER M. JONES, Attorney for Defendant,
24                                                              VICTOR ALFONSO PEREZ VIRGEN

25   Dated: December 7, 2017                                    PHILLIP A. TALBERT, Acting U.S. Attorney
                                                                UNITED STATES ATTORNEY’S OFFICE
26
                                                                By:/s/ Kathleen A. Servatius
27                                                                     Kathleen A. Servatius,
                                                                       Assistant U.S. Attorney
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2                                                             ORDER

3            Having reviewed the above Stipulation and Good Cause Appearing, it is hereby ordered that the

4    travel condition of Pretrial Release regarding Defendant, Victor Alfonso Perez Virgen, be modified as

5    follows: Mr. Virgin may travel to Nayarit, Mexico to visit his immediate, and extended family. He will leave

6    no earlier than Friday, Dec 22, 2017, and return to Lodi, California no later than Wednesday, January 3,

7    2018. All other conditions of release, not in conflict, shall remain in full force and effect.

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11           IT IS SO ORDERED.
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             Dated:            December 8, 2017                        /s/ Barbara A. McAuliffe
13                                                                UNITED STATES MAGISTRATE JUDGE
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